Case 1:20-cv-00484-RDA-TCB Document 556 Filed 02/28/22 Page 1 of 2 PageID# 14779




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  AMAZON.COM, INC. et al.,

         Plaintiffs,
  v.

  WDC HOLDINGS LLC d/b/a
  NORTHSTAR COMMERCIAL                               CASE NO. 1:20-cv-484-      TCB
  PARTNERS, et al.,

         Defendants.


  800 HOYT LLC,

         Intervening Interpleader Plaintiff,
  v.

  BRIAN WATSON, et al.,

         Interpleader Defendants.




                                               ORDER

         UPON CONSIDERATION of Defendants Brian Watson and WDC Holdings LLC’s

  (together, “the Watson Defendants’”) Unopposed Motion for an Order Extending the Discovery




                                                 1
Case 1:20-cv-00484-RDA-TCB Document 556 Filed 02/28/22 Page 2 of 2 PageID# 14780




  Deadline and Holding In Abeyance Watson’s Motion to Compel                     , and it appearing

  to the Court that granting the motion would be just and proper, it is hereby

            ORDERED that Defendants’ motion is GRANTED;

            ORDERED that the discovery deadline of           March 18, 2022, is extended by

  twenty-one        days to       April 8, 2022; and

            ORDERED that Mr. Watson’s motion to compel                 shall be held in abeyance until further

  notice.
            IT IS SO ORDERED.




                                                                                         /s/




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